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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 LKQ CORPORATION, and KEYSTONE                      Civil Action No. 1:21-cv-03166
 AUTOMOTIVE INDUSTRIES, INC.,
                                                    The Honorable Nancy Maldonado
                Plaintiffs,
                                                    The Honorable Magistrate Sunil R. Harjani
        v.

 KIA AMERICA, INC. and
 KIA CORPORATION,

                Defendants.


                     PLAINTIFFS’ OPPOSED MOTION TO
              DEEM ADMITTED CERTAIN REQUESTS FOR ADMISSION

       Pursuant to Fed. R. Civ. P. 36(a)(6), Plaintiffs LKQ Corporation and Keystone Automotive

Industries, Inc. (“LKQ”) respectfully request that this Motion be granted, and this Court enter an

Order against Defendants Kia America, Inc. and Kia Corporation (“Kia”) deeming admitted Kia’s

responses to the following Requests for Admissions:

       (1)     RFA Nos. 1108-1112, 1147-1151, 1186-1190, 1221-1225, 1256-1260, 1291-1295,

               1326-1330, 1361-1365, 1396-1400, 1431-1435, 1466-1470, 1501-1505, 1536-

               1540, and 1571-1575 (“Public Use RFAs”), relating to the reasons Kia conducted

               these same consumer clinics;

       (2)     RFA Nos. 1004-1036 dealing with Kia’s apparent failure to disclose the consumer

               clinics at issue in this case to its prosecution counsel; and

       (3)     RFA Nos. 1686-1703 relating to one of LKQ’s defenses of noninfringement.

In the alternative, LKQ respectfully requests that this Court compel Kia to serve amended

responses within seven (7) days.
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       LKQ understands the importance of Local Rule 37.2 wherein the parties must meet and

confer in a good faith basis regarding any discovery requests at issue. Accordingly, on the topics

raised herein, counsel for LKQ and Kia met and conferred telephonically on:

              October 13, 2022 (approximately one hour): Michael P. Bregenzer attending on
               behalf of LKQ and Thomas Burns attending on behalf of Kia;

              November 17, 2022 (approximately 50 minutes): Michael P. Bregenzer attending
               on behalf of LKQ and Thomas Burns attending on behalf of Kia; and

              December 16, 2022 (more than two hours): Michael P. Bregenzer and Ed Runyan
               attending on behalf of LKQ, for some of this meet and confer, and Michael P.
               Bregenzer there for the entire meet and confer, and Thomas Burns attending on
               behalf of Kia.

After meeting and conferring numerous times relating to Kia’s refusal to provide a substantive

response to LKQ’s RFAs, the parties are at an impasse as Kia will not resolve the outstanding

discovery issues discussed in detail in LKQ’s Memorandum in Support of its Motion to Deem

Admitted Certain Requests for Admission. Accordingly, LKQ respectfully requests that this Court

grant LKQ’s Motion.




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Dated: December 22, 2022                   Respectfully submitted,

                                           By: /s/ Michael P. Bregenzer
                                           Barry F. Irwin, P.C.
                                           Michael P. Bregenzer
                                           Robyn Bowland
                                           Jason J. Keener
                                           Edward Runyan
                                           Nicholas K. Wheeler
                                           Daniel Zhang
                                           Andrew Choi
                                           IRWIN IP LLC
                                           150 N. Wacker Drive, Suite 700
                                           Chicago, IL 60606
                                           Tel.: (312) 667-6080
                                           birwin@irwinip.com
                                           mbregenzer@irwinip.com
                                           rbowland@irwinip.com
                                           jkeener@irwinip.com
                                           erunyan@irwinip.com
                                           nwheeler@irwinip.com
                                           dzhang@irwinip.com
                                           achoi@irwinip.com

                                           Attorneys for Plaintiffs LKQ Corporation &
                                           Keystone Automotive Industries, Inc.




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                               CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing document was served via ECF on December 22, 2022,

upon all counsel of record.

                                                          /s/ Gloria Rios
                                                          Gloria Rios
